Case 2:06-cv-06720-JS-SIL Document 121-4 Filed 03/09/11 Page 1 of 6 PageID #: 1446
Case 2:06-cv-06720-JS-SIL Document 121-4 Filed 03/09/11 Page 2 of 6 PageID #: 1447
Case 2:06-cv-06720-JS-SIL Document 121-4 Filed 03/09/11 Page 3 of 6 PageID #: 1448
Case 2:06-cv-06720-JS-SIL Document 121-4 Filed 03/09/11 Page 4 of 6 PageID #: 1449
Case 2:06-cv-06720-JS-SIL Document 121-4 Filed 03/09/11 Page 5 of 6 PageID #: 1450
Case 2:06-cv-06720-JS-SIL Document 121-4 Filed 03/09/11 Page 6 of 6 PageID #: 1451
